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                                 UNITED STATES DISTRICT COURT               C' .~')
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                             FOR THE DISTRICT OF MASSACHUSETTS ',                     ,/,0
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    ALLAN SILBER,

              Plaintiff,                                      Docket No.: - - - - - - - -

                   v.

    FAMILY ENDOWMENT PARTNERS, LP, MIP

    GLOBAL, INC., and LEE D. WEISS,


              Defendants,

    and TD BANK, N.A., and BANK OF AMERICA,

    N.A.,


               Trustee Process Defendants.


                                       VERIFIED COMPLAINT

           PlaintiffAllan Silber ("Silber") brings this action against defendants Family Endowment

    Partners, LP ("FEP"), MIP Global, Inc. aka Mosaic ("Mosaic") and Lee D. Weiss ("Weiss") for:

    (1) fraud and violation of securities laws arising from Weiss' multiple knowing and intentional

    misrepresentations made to Silber in order to induce him to purchase limited partnership interests

    in FEP and five promissory notes issued by FEP in the aggregate principal amount of $750,000;

    (2) all amounts due and owing to Silber by FEP and Mosaic pursuant to the aforesaid promissory

    notes which are in default; and (3) an accounting as to the limited partnership interests in FEP

    acquired by Silber.
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                                    JURISDICTION AND VENUE

       This Court has jurisdiction over this action pursuant to 28 U.S.C. §1332 based upon

diversity of citizenship of the parties. The amount in controversy exceeds $75,000, exclusive of

interest and costs. Federal questions jurisdiction is also proper pursuant to 28 U.S.C. §1331.

Venue in this Court is proper pursuant to 28 U.S.c. §1391(a).

                                             PARTIES

       1.       Silber is a businessman residing in Toronto, Ontario, Canada.

       2.       FEP is a Delaware limited partnership having a business address at 125 High

Street, Suite 1405, Boston, Massachusetts. FEP is registered with the Securities and Exchange

Commission as an investment advisor under the Investment Advisers Act of 1940.

       3.       Mosaic is a Delaware corporation having a business address at 255 State Street,

Boston, Massachusetts.

       4.       Weiss is an individual residing in Newton, Massachusetts.

       5.       Trustee process defendant TD Bank, N.A. ("TD Bank") is a nationally chartered

bank having branch locations throughout Massachusetts. Upon information and belief, FEP

maintains one or more bank accounts at TD Bank.

       6.       Trustee process defendant Bank of America, N.A. ("Bank of America") is a

nationally chartered bank having branch locations throughout Massachusetts. Upon information

and belief, Mosaic maintains one or more bank accounts at Bank of America.

                                      STATEMENT OF FACTS

       7.       At all times relevant to the allegations herein, Weiss served as the managing

partner of FEP and the president and chief executive officer of Mosaic.




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        8.      Upon information and belief, Weiss owned a controlling interest and actually

exercised control over each of FEP and Mosaic at all times relevant to the allegations herein.

        9.      On or about June 6,2008, Weiss caused FEP to sell 32.111 Class C Units of

limited partnership interest, and to issue an Unsecured Senior Promissory Note in the principal

amount of One Hundred Thousand Dollars ($100,000) with interest thereon accruing at a rate per

annum often percent (10%) from and after June 5, 2008 (the "Krouse Note"), to Bradley A.

Krouse and Beth Krouse.

        10.     On or about June 6, 2008, Weiss caused FEP to sell 32.111 Class C Units of

limited partnership interest, and to issue an Unsecured Senior Promissory Note in the principal

amount of One Hundred Thousand Dollars ($100,000) with interest thereon accruing at a rate per

annum often percent (10%) from and after June 5, 2008 (the "Glazer Note"), to William Glazer.

        11.     On or about June 6, 2008, Weiss caused FEP to sell 32.111 Class C Units of

limited partnership interest, and to issue an Unsecured Senior Promissory Note in the principal

amount of One Hundred Thousand Dollars ($100,000) with interest thereon accruing at a rate per

annum often percent (10%) from and after June 5, 2008 (the "Rash Note"), to ART IV Ben Rash

FBO Marc Rash.

        12.     On or about June 6, 2008, Weiss caused FEP to sell 32.111 Class C Units of

limited partnership interest, and to issue an Unsecured Senior Promissory Note in the principal

amount of Three Hundred Thousand Dollars ($300,000) with interest thereon accruing at a rate

per annum often percent (10%) from and after March 13,2008 (the "Fink Note"), to Michael

Fink.

        13.     On or about June 6, 2008, Weiss caused FEP to sell 32.111 Class C Units of

limited partnership interest, and to issue an Unsecured Senior Promissory Note in the principal



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amount of One Hundred and Fifty Thousand Dollars ($150,000) with interest thereon accruing at

a rate per annum often percent (10%) from and after March 18,2008 (the "Feinman Note"), to

Michael L. Feinman. (The Feinman Note, Krouse Note, Glazer Note, Rash Note and Fink Note

are referred to collectively in this Verified Complaint as the "Notes".)

       14.     Interest on each of the Notes was payable annually in arrears on June 6 of each

year beginning on June 6, 2009.

       15.     Under the terms of the Notes, FEP could elect to pay the interest otherwise due by

either (i) increasing the principal amount of the Note by applying an increased interest rate of

eleven percent (11%) per annum or (ii) with the consent of the holder of the Note, issuing

additional Class C Units in FEP having a value equal to the unpaid interest.

       16.     Upon information and belief, no holder of the Notes consented to the issuance of

additional Class C Units in payment of interest otherwise due, despite how no interest was paid

beginning June 6,2010.

       17.     As such, interest payable under the Notes increased to eleven percent (11%) per

annum beginning June 7, 2011.

       18.     The maturity date for each ofthe Notes was June 6, 2013.

       19.     FEP failed to satisfy both its obligation to pay annual interest on the Notes to the

note holders and to repay all principal and accrued interest by June 6, 2013.

       20.     Weiss first met Silber in or around the spring of2012 through their mutual

involvement in certain philanthropic activities.

       21.     Over time Weiss and Silber began to discuss ways they might conduct business

together, and in or about May of2013 Weiss approached Silber concerning FEP's obligations

under the Notes.



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       22.       Weiss complained to Silber that the holders of the Notes were pressuring him for

immediate payment and that he needed to refinance that debt.

       23.       So Weiss began soliciting Silber to refinance the debt and in that context

represented to Silber that FEP, Mosaic and Weiss' other affiliated businesses were thriving but

that a short-term lack of liquidity temporarily impeded his ability to repay the Notes by their

maturity date.

       24.       In soliciting Silber to purchase the Class C Units and Notes from the original

holders, Weiss intentionally misrepresented material facts and omitted to disclose material facts

to Silber concerning: (a) FEP's true financial condition and ability to repay or refinance the

principal and accrued interest on the Notes; and (b) the existence of litigation which the

defendants knew or should have known had and would continue to have a material adverse effect

on the value ofthe Class C Units and on FEP's ability to repay the Notes.

       25.       Upon information and belief, Weiss made such misrepresentations primarily and

substantially from within Massachusetts.

       26.       At the same time, Weiss touted to Silber his plans to purchase the registered

investment advisor ICC Capital Management through Mosaic, offering Silber an opportunity to

participate in that transaction as well.

        27.      On June 9,2013, Weiss even provided Silber with a copy ofa loan commitment

letter from First Republic Bank dated May 8, 2013 for $10 million in the aggregate. The stated

purpose of the $6 million term loan included as a part of that $10 million commitment was "to

provide funding for the refinancing of [FEP] debt and [Mosaic's] acquisition of ICC Capital

Management, Inc.".




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       28.       Upon information and belief, Weiss knew or should have known that First

Republic Bank would not loan FEP $6 million to refinance its debts, but he provided the

commitment letter to Silber in order to mislead him concerning the ability of Weiss to obtain

bank financing for his entities.

       29.       Weiss also failed to disclose to Silber that he and FEP had been sued on July 17,

2013 by clients in a proceeding before the American Arbitration Association seeking

approximately $20 million in damages for fraud and related claims arising from the defendants'

investment recommendations and self-dealing (the "Client Fraud Arbitration").

       30.       Weiss further failed to disclose to Silber that, as known by Weiss, the costs to

defend the Client Fraud Arbitration and the probability that the plaintiffs would recover

significant damages were expected to have a material adverse impact on FEP's business and

finances.

        31.      In fact, on or about April 14, 2015, the arbitrator in the Client Fraud Arbitration

issued an award against Weiss and FEP in excess of $48 million, including some $30 million in

punitive damages for their knowing fraud, misrepresentations, and breach of fiduciary duty.

        32.      Instead, Weiss informed Silber that he had personally negotiated with the holders

ofthe Class C Units and Notes, including those whom he referred to as the "trouble group", to

sell Silber their Class C Units and Notes at a significant discount, so long as Silber swiftly paid

the aggregate consideration equal to the principal amount ofthe Notes (i.e., $750,000), plus

certain costs.

        33.      On or about August 6, 2013, Weiss represented to Silber that he would "pay all of

the notes off by the end of the year through my Mosaic entity and have FEP be a full owned sub

of Mosaic."



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        34.    Weiss thus assured Silber that, upon closing, he would own Notes worth at least

$975,000, entitling Silber to an immediate return of approximately 30%.

        35.    In reliance upon Weiss' specific representations and assurances, on or about

August 23,2013, Silber purchased the 160.555 Class C Units and the Notes from the individual

holders pursuant to separate Assignment of Promissory Note Agreements with each note holder

(collectively, the "Assignment Agreements").

        36.    FEP was also a party to each Assignment Agreement with Weiss signing on its

behalf as managing partner.

        37.    By their express terms, each of the Assignment Agreements is deemed to have

been negotiated, executed, and delivered in Delaware.

        38.    In connection with the sale to Silber of the Class C Units and Notes, Weiss, on

behalf of FEP, also entered into an Indemnification Agreement with Silber dated August 23,

2013.

        39.    Weiss acknowledged in the Indemnification Agreement that assignment of the

Notes would confer a benefit on FEP and therefore, in order to induce Silber to purchase the

Notes, it agreed to indemnify and hold Silber harmless from losses arising from any breach of a

representation or warranty made by the assignors in the Assignment Agreements or from

litigation by third parties arising out of ownership of the Notes or Class C Units.

        40.    By its terms the Indemnification Agreement is deemed to have been negotiated,

executed and delivered in Delaware.

        41.    Silber was not provided any partnership documents related to the Class C Units of

FEP he purchased.




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       42.     Following Silber's purchase of the Class C Units and Notes, Weiss induced Silber

to invest an additional $900,000 in Mosaic and $100,000 for the purchase of a number of

cigarette/cigar brands.

       43.     Silber gave Weiss the additional money based on Weiss' false assurances that he

and his entities were simply waiting for significant funds from the payment of earned

performance fees and committed capital investments.

       44.     At all times relevant to the allegations herein, Weiss lumped FEP and Mosaic

together in his explanations to Silber of how debts of anyone of the entities would be repaid.

       45.     In the context of a proposed investment by Silber in three other funds Weiss

controlled, Weiss admitted to Silber in a November 6, 2013 email, "I have been running a very

successful business for many years and since I was the only owner, I did not need to differentiate

between business units or funds."

       46.     Upon information and belief, Weiss operated FEP and Mosaic as alter egos of one

another, including without limitation by coming ling funds between the entities, failing to

maintain an arm's length relationship among the entities, utilizing common management,

diverting company funds for non-company uses, and failing to maintain adequate records or

minutes.

        47.    Despite multiple demands and Weiss' repeated false representations that payment

was pending and/or would be made at certain dates from late 2013 through and into early 2015,

the defendants have failed and refused to make any payments owing under the Notes.

        48.    For example, on December 24,2013, Weiss emailed Silber from his Mosaic email

account, lweiss@mosaicip.com, and stated he had applied for a bank line of credit to allow him

to repay the Notes quickly.



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       49.        Thereafter, on February 14,2014, Weiss emailed Silber (again using his Mosaic

email account) and represented that he had been able to raise capital that would allow him to

repay Silber $900,000 (ostensibly for the funds Silber gave him for Mosaic) by March 31, 2014,

with the remainder owing under the Notes to be paid by July 1,2014.

       50.        On March 28,2014, Mosaic did repay Silber $900,000.

       51.        With respect to the amount owing under the Notes, Weiss stated in an August 21,

2014 email to Silber, "We can make a $500,000 payment on Sept         is" and the remainder on
October 15th • I hope this will work for you and we can both move forward."

       52.        On September 16,2014, Silber requested confirmation from Weiss that "you kept

your promise and wired in the first repayment of $500,000."

       53.        Weiss responded to Silber a few hours later stating, "Do [sic] to the approaching

Shmitah year, I need to accelerate the payments and have a final payment for you next week. I

will have my team finish the calculations and please have your team due [sic] the same."

       54.        Nevertheless, by a week later the defendants still had not made any payment to

Silber. Therefore, on September 22,2014, Silber again emailed Weiss demanding payment.

       55.        Weiss responded two days later, on September 24,2014, stating, "We have setup a

wire for $1,058,020.85. This includes interest through the end of September. Thank you for all

of your help and friendship."

       56.        Continuing Weiss' pattern of deception, Silber did not receive any payment

whatsoever from the defendants.

       57.        To this date, the full principal and all accrued interest on the Notes remain unpaid

and in default.




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          58.   In addition, though Silber has asked for copies of the relevant partnership

documents and an accounting for the ownership stake he acquired in the Class C Units in FEP,

the defendants have failed and refused to respond to Silber's request.

                                          COUNT I
                            Action on Promissory Notes against FEP

          59.   Silber incorporates by reference the preceding paragraphs as if fully set forth

herein.

          60.   FEP is separately indebted to Silber under each ofthe Notes set forth above.

          61.   FEP has and continues to be in default under each of the Notes by failing to pay

the outstanding principal and interest in accordance with the terms of the Notes.

          62.   Despite demand, FEP has failed and refused to remedy its default.

          63.   By virtue ofthe foregoing, FEP is liable to Silber for the aggregate principal

amount of$750,000 under the Notes, plus accrued interest, as well as attorneys' and other fees

and costs as provided in the Notes.

                                           COUNT II

                                 Breach of Contract against FEP


          64.   Silber incorporates by reference the preceding paragraphs as if fully set forth

herein.

          65.   Each of the Notes constitutes a valid contract pursuant to which FEP agreed to

reimburse Silber for the full principal value ofthe loans, plus accrued interests and costs.

          66.   By virtue ofthe conduct described above FEP has breached its obligations to

Silber under each ofthe Notes.

          67.   As a direct and proximate result ofFEP's wrongful conduct, Silber has been

damaged in an amount to be determined at trial, but in no event less than the $750,000 aggregate



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principal due, plus accrued interest, as well as attorneys' and other fees and costs as provided in

the Notes.

                                         COUNT III

                           Promissory Estoppel vs. Weiss and Mosaic


          68.   Silber incorporates by reference the preceding paragraphs as if fully set forth

herein.

          69.   Weiss, acting in his individual capacity and as an agent of Mosaic, in order to

induce Silber to purchase the Notes issued by FEP, promised Silber that he would pay in full the

Note obligations to Silber through Mosaic by the end of2013.

          70.   Weiss and Mosaic caused Silber to take reasonable action and alter his position to

his detriment in reliance upon their material representations resulting in substantial damage to

Silber.

          71.   Silber has suffered and continues to suffer a substantial detriment and economic

loss in having relied on Weiss' and Mosaic's false promises. Therefore, injustice can be avoided

only by enforcing the Note repayment obligations to Silber as against Weiss and Mosaic.

                                           COUNT IV

                                     Fraud vs. Weiss and FEP


          72.   Silber incorporates by reference the preceding paragraphs as if fully set forth

herein.

          73.   In soliciting Silber to purchase the Class C Units in FEP and take assignment of

the Notes from the original holders, Weiss and FEP failed to disclose the true nature and extent

ofFEP's (and Mosaic's) financial troubles, lack of adequate capitalization, and ability to repay

the Notes by the end of2013, as promised.




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            74.   Weiss and FEP also failed to disclose, in response to Silber's requests for

information concerning FEP's business, that Weiss and FEP had been sued only one month prior

for more than $20 million in damages by other investors.

            75.   Weiss and FEP knew or should have known that the lawsuit was likely to result in

a significant award of damages and that such award and the defense of the lawsuit would have a

material adverse impact on FEP's cash flow, the value of the Class C Units and ability to repay

the Note obligations in accordance with their representations and promises.

            76.   By engaging in the foregoing conduct, FEP and Weiss committed fraud and

willfully violated §§1O(b) and 20(a) of the Securities and Exchange Act of 1934, 48 Stat. 891, 15

U.S.C. §§78j(b) and 78t(a), and SEC Rule IOb-5, 17 CFR §240.10b-5 (2009), promulgated

pursuant to §1O(b).

            77.   By reason of these actions Silber has been injured in an amount to be determined

at trial.

                                             COUNT V
                         Violation of Mass. Gen. Laws c. 93A §11 vs. Weiss

            78.   Silber incorporates by reference the preceding paragraphs as if fully set forth

herein.

            79.   The aforesaid conduct of Weiss, including but not limited to his knowing material

misrepresentations and omissions to Silber in the course of soliciting the business transactions

relating to the Class C Units and Note purchases and other investments in his businesses, and his

stringing Silber along with multiple false promises of imminent repayment, constitute unfair and

deceptive acts and practices in violation ofM.G.L. c. 93A §§2, 11.




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          80.    Weiss committed the aforesaid deceptive conduct intended to induce Silber into

making the various investments primarily and substantially within the Commonwealth of

Massachusetts.

          81.    Weiss' violations ofM.G.L. c. 93A were knowing and deliberate.

          82.    By virtue of Weiss' violations ofM.G.L. c. 93A, Weiss is liable to Silber in an

amount to be determined at trial, together with multiple damages, interest, costs and attorneys'

fees.

                                          COUNT VI

                                  Demand for Accounting vs. FEP


          83.    Silber incorporates by reference the preceding paragraphs as if fully set forth

herein.

          84.    In reliance upon Weiss' material misrepresentations and omissions, Silber

acquired and currently owns 160.555 Class C Units in FEP.

          85.    Despite demand, FEP has failed and refused to provide any accounting ofthe

assets, liabilities, and finances of FEP.

          86.    Silber requests a full and detailed accounting with respect to Silber's Class C

Units, including any distributions that should have been made thereon and an award of all such

monies owed.

                                            RELIEF REQUESTED

          WHEREFORE, Silber respectfully requests judgment as follows:

           1.    On Count I, in favor of Silber and against FEP as follows:

                 a. On the Krause Note, $100,000 of outstanding principal, plus accrued interest;

                 b. On the Glazer Note, $100,000 of outstanding principal, plus accrued interest;

                 c. On the Rash Note, $100,000 of outstanding principal, plus accrued interest;


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      d. On the Fink Note, $300,000 of outstanding principal, plus accrued interest;

      e.	 On the Feinman Note, $150,000 of outstanding principal, plus accrued

         interest;

      f.	 Silber's attorneys' fees and costs as provided by each of the Notes; and

2.	   On each of Counts II through Count V, in favor of Silber and against the

      defendants for monetary relief in an amount to be proven at trial;

3.	   On Count VI, in favor of Silber ordering defendant FEP to provide a full

      accounting with respect to Silber's Class C Units and awarding Silber all amounts

      owing in respect of Silber's Class C Units;

4.	   For a declaration that Mosaic is the alter ego of FEP and, as such, is jointly and

      severally liable for all sums adjudged against FEP;

5.	   For prejudgment and post-judgment interest;

6.	   For attorneys' fees and other appropriate expenses, as provided under the Notes,

      and M.G.L. c. 93A;

7.	   For multiple damages pursuant to M.G.L. c. 93A; and

8.	   For such other and further relief as the court may deem just and proper.




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                                   DEMAND FOR JURY TRIAL

      Silber demands a jury trial on all issues so triable.

Dated: May 1, 2015                    Respectfully submitted,
                                              ALLAN SILBER



                                          ~~  Da id M. Be1c er (BBO 636680)
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                                          VERIFICATION

      I, Allan Silber, do hereby depose and state that I have read the foregoing Verified
Complaint and that the allegations set forth therein are true and correct, except for the allegations
made upon information and belief, which allegations I believe to be true.

        Signed under the penalties of perjury.



Dated: May _,_, 2015




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